Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 1 of 87




           Exhibit
             A
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 2 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 3 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 4 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 5 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 6 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 7 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 8 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 9 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 10 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 11 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 12 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 13 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 14 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 15 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 16 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 17 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 18 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 19 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 20 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 21 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 22 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 23 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 24 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 25 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 26 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 27 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 28 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 29 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 30 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 31 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 32 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 33 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 34 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 35 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 36 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 37 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 38 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 39 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 40 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 41 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 42 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 43 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 44 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 45 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 46 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 47 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 48 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 49 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 50 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 51 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 52 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 53 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 54 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 55 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 56 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 57 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 58 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 59 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 60 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 61 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 62 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 63 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 64 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 65 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 66 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 67 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 68 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 69 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 70 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 71 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 72 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 73 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 74 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 75 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 76 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 77 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 78 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 79 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 80 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 81 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 82 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 83 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 84 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 85 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 86 of 87
Case:20-01947-jwb   Doc #:308-1 Filed: 09/14/2020   Page 87 of 87
